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                 EXHIBIT 2
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 1   Jeffrey C. Block (pro hac vice)
     BLOCK & LEVITON LLP
 2   260 Franklin Street, Suite 1860
     Boston, MA 02110
 3
     (617) 398-5600 phone
 4   jeff@blockesq.com

 5   Co-Lead Counsel
 6
 7
                             UNITED STATES DISTRICT COURT
 8
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10
                                              Master File No. 17-cv-06779-RS
11   IN RE TEZOS SECURITIES LITIGATION
                                              CLASS ACTION
12
     This document relates to:                DECLARATION OF JEFFREY C.
13                                            BLOCK IN SUPPORT OF LEAD
            ALL ACTIONS.                      COUNSEL’S MOTION FOR AN
14                                            AWARD OF ATTORNEYS’ FEES AND
                                              LITIGATION EXPENSES AND
15                                            CHARGES

16                                            FILED ON BEHALF OF BLOCK &
                                              LEVITON LLP
17
                                              Date:        August 27, 2020
18                                            Time:        1:30 p.m.
                                              Courtroom:   3, 17th floor
19                                            Judge:       Hon. Richard Seeborg

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     MASTER FILE NO. 17-CV-06779-RS
     DECLARATION OF JEFFREY C. BLOCK
                Case 3:17-cv-06779-RS Document 257-2 Filed 07/28/20 Page 3 of 35



 1           I, Jeffrey C. Block, Esq., pursuant to 28 U.S.C. § 1746, hereby declare as follows:
 2         1.         I am admitted to practice law before all the courts of the Commonwealth of
 3   Massachusetts and I am admitted pro hac vice in this Action. I am the founding partner of the
 4   law firm Block & Leviton LLP (“Lead Counsel”), counsel of record for Lead Plaintiff Trigon
 5   Trading Pty. Ltd. (“Lead Plaintiff”), and Co-Lead Counsel for the Class. I respectfully submit
 6   this declaration in support of Lead Counsel’s Motion for an Award of Attorneys’ Fees and
 7   Reimbursement of Litigation Expenses.
 8         2.         I have personally participated in, overseen, and monitored the prosecution of this
 9   Action, and have otherwise been kept informed of developments in this Litigation by attorneys
10   working with me and under my supervision. Thus, if call upon, I can testify to the matters set
11   forth herein.

12         3.         As Lead Counsel, my firm was involved in all aspects of the litigation and its
13   settlement as set forth in the Declaration of Jeffrey C. Block in Support of: (1) Lead Plaintiff’s
14   Motion for Final Approval of Class Action Settlement and Plan of Allocation; and (2) Lead
15   Counsel’s Motion for an Award of Attorneys’ Fees and Reimbursement of Litigation Expenses.
16         4.         Attorneys and Professional Support Staff at my firm billed the following
17   aggregate hours to this matter as of the date of filing, with fees applied at the firms current
18   billing rates:
19
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     MASTER FILE NO. 17-CV-06779-RS
     DECLARATION OF JEFFREY C. BLOCK
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 1
 2                  Timekeeper            Type         Hours   Hourly Rate             Total

 3
               Jeffrey Block                P          278.2     $1000                     $278,200
 4
               Jacob Walker                 P          761.3      $750                     $570,975
 5
 6             Joel Fleming                 P          237.3      $750                     $177,975

 7             Jason Leviton                P           8.1       $875                         $7,088
 8
               Nate Silver                  A          206.1      $475                      $97,898
 9
10             Amanda Crawford              A           3.9       $450                         $1,755


11             Mark Byrne                  LC           19.6      $175                         $3,430

12
               Rachel Murphy               PL           1.9       $250                          $475
13
               Brooke Jordy                PL           19.3      $235                         $4,536
14
15             Elizabeth Davey             PL           29.7      $250                         $7,425

16
               Total                                                                    $1,149,756
17
            P = Partner; A = Associate; PL = Paralegal; LC = Law Clerk
18
          5.           Block & Leviton directly seeks payment of the following expenses and charges
19
     directly related to the litigation of this action (which have been summarized in categories):
20
                                                 Category                    Expense
21
22                       Experts                                              $22,068.75

23
                         Travel (Flights, Lodging, Meals)                      $8,611.21
24
                         Document Review Software                              $6,131.76
25
26                       Legal Research                                        $1,633.03

27                       Mediation Fees                                        $7,500.00

28

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     DECLARATION OF JEFFREY C. BLOCK
               Case 3:17-cv-06779-RS Document 257-2 Filed 07/28/20 Page 5 of 35



 1                    Court Fees, Court Reporters                           $2,341.18

 2
                      Printing                                                $175.96
 3
                      Process Servers                                       $2,756.20
 4
 5                    Shipping & Postage                                    $1,049.83

 6
                      Total Expenses                                       $52,267.92
 7
 8
          6.        Attached as Exhibit A is a true and correct copy of Block & Leviton LLP’s firm
 9
     resume.
10
          7.        Attached as Exhibit B is a summary chart describing the work described in
11
     Paragraph 4, above.
12
            I declare under penalty of perjury that the foregoing is true and correct. Executed on this
13
     28th day of July 2020, at Boston, Massachusetts.
14
15
                                                        By: /s/ Jeffrey C. Block
16                                                      Jeffrey C. Block (pro hac vice)
                                                        Block & Leviton LLP
17                                                      260 Franklin Street, Suite 1860
                                                        Boston, Massachusetts 02110
18                                                      (617) 398-5600 phone
                                                        jeff@blockesq.com
19                                                      Co-Lead Counsel and Counsel to
                                                        Lead Plaintiff Trigon Trading Pty. Ltd.
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     MASTER FILE NO. 17-CV-06779-RS
     DECLARATION OF JEFFREY C. BLOCK
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                Exhibit A
Case 3:17-cv-06779-RS Document 257-2 Filed 07/28/20 Page 7 of 35




                                                              Firm Resume
    260 Franklin Street, Suite 1860 | Boston, MA 02110
    100 Pine Street, Suite 1250 | San Francisco, CA
    94111
    1735 20th St NW | Washington, DC 20009
    8 W. Mozart Dr. | Wilmington, DE 19807

    T. (617) 398-5600 | F. (617) 507-6020

    www.blockesq.com
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FIGHT FOR A LEVEL PLAYING FIELD.
Block & Leviton believes investors, pensioners, consumers and employees deserve an advocate who will take a stand
to protect their rights. We value our role not only in recovering our clients’ immediate losses, but in protecting
their long-term interests by helping to shape corporate policy. We genuinely enjoy our work, which each day offers
an opportunity to tackle novel problems and unique challenges in a continuously evolving economy. We concur
with Aristotle’s observation that pleasure in the job puts perfection in the work. We believe this is reflected in our
track record, which includes our ability to take a case to trial and win, as well as our appointment as lead or co-lead
counsel in many dozens of high profile securities litigation matters, including:


In re BP Securities Litig., Case No. 4:10-MD-02185 (S.D. Tex.) (settled for $175 million), In re Google Class C
Shareholder Litig., Case No. 7469-CS (Del. Ch.) (settled for $522 million), Snap Inc. Securities Cases, Case No. JCCP
4960 (Cal. Superior Ct.) ($32.8 million settlement preliminarily approved), In re Tezos Securities Litig., Case No.
3:17-cv-07095 (N.D.Cal.) ($25 million preliminarily approved), Plains Exploration & Prod. Co. Stockholder Litig.,
Case No. 8090-VCN (Del. Ch.) ($400 million), In re Pilgrim’s Pride Corporation Derivate Litigation, case no. 2018-
0058-JTL (Del. Ch.) ($42.5 million settlement)and In re Swisher Hygiene, Inc. Securities and Derivative Litig., Case
No. 3:12-md-2384 (N.D.Cal.) (recovering 30% of the class’s recoverable damages).


The Firm has also been appointed to represent, and succeeded in obtaining substantial recoveries on behalf of,
class members in the areas of consumer protection, antitrust, and ERISA. See In re Volkswagen “Clean Diesel”
Marketing, Sales Practices and Products Liability Litig., Case No. 3:15-md- 02672 (N.D. Cal.) (settlement valued at
approximately $15 billion), In re Thalomid & Revlimid Antitrust Litig., Case No. 14-cv-6997 (D.N.J.) ($34 million
settlement preliminarily approved), and Pfeifer v. Wawa, Case No. 2:16-cv-00497 (E.D. Pa.) ($25 million settlement
in ESOP litigation).


Our attorneys have successfully recovered billions for our clients and class members and have done so even under
adverse conditions, including successfully litigating against bankrupt and foreign-based corporations.


DEFY CONVENTION.
Instrumental to our philosophy is the willingness to embrace new ways of seeing, and solving, our clients’ problems.
For example, we challenged Google Inc.’s plan to issue a new class of non-voting stock that threatened to diminish
the value of minority investors’ holdings in the company. With trial set to begin in less than two days, Block &
Leviton brokered a settlement with Google Inc. and its directors that provided for a forwardlooking payment ladder
(valued at up to $7.5 billion) to protect minority investors against future diminution in their stock value. As a result
of the payment ladder, shareholders ultimately recovered $522 million in cash and stock in May 2015. Appreciation
of the fact that each of our clients has a unique viewpoint allows us to tailor our advice and representation
accordingly to achieve superior results, and to do so with maximum efficiency.


SURROUND YOURSELF WITH THE BEST.
The Firm credits its success to its entire team of extremely talented, dedicated attorneys, the majority of whom have
significant litigation experience. An in-depth curriculum vitae highlighting each attorney’s areas of expertise, unique
experience, recognition in the field and education credentials follows.


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                                                   Jeffrey Block is a co-founding partner of Block & Leviton. With a career
                                                   spanning thirty years, Jeff is recognized as one of the nation’s preeminent
                                                   class action attorneys and is recognize as a “Super Lawyer” by Massachusetts
                                                   Super Lawyers. Jeff was one of the lead attorneys representing the Ohio
                                                   Public Employees Retirement System in In re BP Sec. Litig., No. 4:10-MD-
JEFFREY C. BLOCK                                   02185 (S.D. Tex.), charging that BP misled investors as to the amount of oil
Partner                                            leaking from the Macondo well after the explosion aboard the Deepwater
                                                   Horizon oil rig in the Gulf of Mexico in 2010. Jeff, on behalf of the plaintiffs,
    jeff@blockesq.com
                                                   successfully argued against defendants’ motions to dismiss, in favor of class
                                                   certiﬁcation, in opposition to summary judgment, and helped secure a
                                                   settlement of $175 million for the class, which represents more than 60% of
EDUCATION
                                                   the class’ actual losses. Jeff also represented the Brockton Retirement System
•   Brooklyn Law School, J.D., cum laude
                                                   in an action challenging Google’s attempt to split its stock into voting and
    1986
                                                   non-voting shares. See In re Google, Inc. Class C S’holder Litig., Case No.
•   State University of New York, B.A.,            7469-CS (Del. Ch. Ct.). Two days before the start of trial, the action settled
    Political Science, cum laude 1983              for signiﬁcant corporate governance changes and a payment ladder valued
                                                   up to $7.5 billion, which was designed to protect shareholders against any
BAR ADMISSIONS                                     diminution in the value of their shares during the ﬁrst year of trading.
•   New York                                       Because of the payment ladder, shareholders ultimately recovered $522
•   Massachusetts                                  million in cash and stock in May 2015.

                                                   Jeff also oversaw the Firm’s litigation efforts in In re McKesson Corporation
COURT ADMISSIONS
                                                   Derivative Litigation (N.D. Cal.), in which the McKesson Board agreed to
•   United States Supreme Court
                                                   re-pay to the company $175 million and agreed to significant corporate
•   First, Second, Third, Ninth, and Eleventh      governance reforms to ensure that McKesson would comply with Federal
    Circuit Courts of Appeal                       law regarding the sales and distribution of dangerous drugs, including
•   D. Mass.                                       opioids. Jeff also spearheaded the Firm’s litigation involving the offering of
•   S.D.N.Y. and E.D.N.Y.                          unregistered cryptocurrency by the Tezos Foundation. Defendants’ agreed to
                                                   pay $25 million to resolve the case, the first settlement of a cryptocurrency
PUBLICATIONS | SPEAKING EVENTS                     case by a private plaintiff in the country. In re Tezos Securities Litigation
                                                   (N.D. Cal.) Finally, Jeff played a key role in helping to secure $175 million
•   ALI-ABA Conference for Insurance and
                                                   in the aggregate to resolve claims that Snap, Inc. misled its investors in
    Financial Services Industry Litigation, July
                                                   connection with its public offering of securities. Snap, Inc. Securities Cases
    2009, Lecturer and Panelist
                                                   (Sup. Ct. Cal.).
•   Damages in Securities Litigation,
    sponsored by Law Seminars International
                                                   In addition, Jeff represents some of the country’s largest institutional
    at the Harvard Club, Panelist
                                                   investors, including the Massachusetts Pension Reserves Investment
•   Litigation to Remedy Meltdown Damages:         Management Board (PRIM), the Ohio Public Employees Retirement System,
    What Can Be Gained?, Harvard Law               the Ohio State Teachers Retirement System, the Washington State Investment
    School’s Capital Matters Conference,           Board, the New Mexico Educational Retirement Board, the New Mexico
    Speaker                                        Public Employees Retirement System, and the New Mexico State Investment
•   Guest commentator on NBC                       Council.
•   International Strategies Recoveries for
    Foreign Investments, Post Morrison,            Some of the major class actions that Jeff has either led, or played a signiﬁcant
    San Francisco Bar Association, Panel           role in, include: In re First Executive Corp. Securities Litig., 89-cv-7135 (C.D.
                                                   Cal.) (settled for $100 million); In re Xerox Corp. Sec. Litig., 3:00-cv- 01621
                                                   (D. Co11nn.) (settled for $750 million); In re Bristol Myers Squibb Sec.



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    Litig., 02-cv-2251 (S.D.N.Y.) (settled for $300 million); In re Lernout & Hauspie Sec. Litig., 1:00-cv-11589 (D.
    Mass.) (settled for $180 million); In re Symbol Technologies Sec. Litig., 2:02-cv-1383 (E.D.N.Y.) (settled for $127
    million); In re Prison Realty Corp. Sec. Litig., 3:99-cv-0452 (M.D. Tenn.) (settled for over $100 million); In re
    Philip Services Corp. Sec. Litig., 98-cv-835 (S.D.N.Y.) (settled for $79.75 million); In re American Home Mortgage
    Sec. Litig., 07-MD-1898 (E.D.N.Y.) (settled for $50.5 million); In re Force Protection Sec. Litig., 2:08-cv-845
    (D.S.C.) ($24 million settlement); In re Swisher Hygiene, Inc., Securities and Derivative Litig., 3:12-md-2384 GCM
    (W.D.N.C.) ($5.5 million settlement).

    Jeff has a proven record of overcoming signiﬁcant challenges to obtain substantial recoveries on behalf of his
    clients. For example, in the Philip Services securities litigation, Jeff persuaded the United States Court of Appeals
    for the Second Circuit to reverse the District Court’s dismissal of the action on the grounds of forum non
    conveniens. See Dirienzo v. Philip Services Corp., 294 F.3d 21 (2d. Cir. 2002).

    Upon reversal, Jeff led the team of attorneys in taking more than 40 depositions and, upon the eve of trial,
    the action settled for $79.50 million, among the largest recoveries ever in a securities action from a Canadian
    accounting ﬁrm. Jeff ’s skills were discussed in great lengths by the court, speciﬁcally noting that counsel:




             “pursued this fact-intensive and legally complex litigation vigorously over a nine-year
             period, rejected offers of settlement for amounts inferior to the amounts upon which
             the parties ultimately agreed, and assumed signiﬁcant risks of non-recovery. Co-Lead
             Counsel had to overcome the disclaimers and uncertainties of insurance coverage, and
             vigorous advocacy of extremely able and deeply-staffed defense counsel. … And they did
             their work efficiently, with minimal duplication, and maximum effectiveness.




          I was careful to choose attorneys who have
          great ability [and] great reputation… And I                       Honorable C. Weston Houck
          think you’ve undertaken the representation                        In re Force Protection Sec. Litig.,
          of these people, you’ve done an excellent                         2:08-cv-845 CWH (D.S.C.)
          job, you’ve reached a settlement that I think                     ($24 million settlement)
          is fair and in their beneﬁt.



    In re Philip Servs. Corp. Sec. Litig., 2007 U.S. Dist. LEXIS 101427, 13-14 (S.D.N.Y. Mar. 27, 2007) (Honorable Alvin
    K. Hellerstein). Similarly, in Lernout & Hauspie Sec. Litig., Jeff was the lead attorney in securing over $180 million
    for defrauded investors. The action involved an accounting fraud of a company headquartered in both the United
    States and Belgium.

    Recently, Jeff led a team of litigators, private investigators and a forensic accountant through a complex accounting
    fraud case. Jeff settled the case on terms extremely beneﬁcial to the class, as recognized by the court. See In re
    Swisher Hygiene, Inc., Securities and Derivative Litig., 3:12-md-2384 GCM (W.D.N.C.).




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                                                   Jason is a co-founding partner of Block & Leviton and focuses his practice
                                                   on investor protection and shareholder rights matters. He serves as Co-Chair
                                                   of the Firm’s New Case Investigation and Monitoring Team and Chair of the
                                                   Merger and Acquisition/Deal Litigation Team.

JASON M. LEVITON
                                                   In 2011 and each year thereafter, Jason was named either a “Super Lawyer”
Partner                                            or “Rising Star” by Massachusetts Super Lawyers, an honor given to only 3%
    jason@blockesq.com                             and 5% of all lawyers, respectively. Jason also has a Martindale-Hubbell AV
                                                   Preeminent Rating, the highest rating possible. In 2014, Jason was named
                                                   as a Top 100 Trial Lawyer by the National Trial Lawyer Association. After
EDUCATION
                                                   receiving his law degree from Gonzaga University School of Law, cum laude,
• Georgetown University Law Center, LL.M.,
                                                   Jason attended the Georgetown University Law Center and received a Master
   Securities and Financial Regulations - Dean’s
   Award (1 of 6)                                  of Laws (LL.M.) in Securities and Financial Regulation (Dean’s Award, 1
• Gonzaga University School of Law, J.D.,          of 6). During that time, he was the inaugural LL.M. student selected for an
   cum laude, Moot Court Council, International    externship with the S.E.C., Enforcement Division. Jason is now a member of
   Law Review                                      the Association of Securities and Exchange Commission Alumni.
• Gonzaga University, B.A., Philosophy and
   Political Science                               Jason has focused his practice on claims alleging breaches of ﬁduciary duty
                                                   against officers and directors of publicly traded companies. Indeed, in just
BAR ADMISSIONS
                                                   the last few years alone, his litigation efforts have led to hundreds of millions
• Massachusetts
                                                   of dollars being returned to aggrieved stockholders. More speciﬁcally, Jason
• District of Columbia
                                                   served as lead or co-lead counsel in the following breach of ﬁduciary duty
• Washington (voluntarily inactive)
                                                   actions: In re Plains Exploration & Production Co. Stockholder Litig., Case
• Florida (voluntarily inactive)
                                                   No. 8090-VCN (Del. Ch.) (litigation led to an increase of approximately $400
                                                   million to the original merger amount); In re Pilgrim’s Pride Corp. Derivative
COURT ADMISSIONS
                                                   Litig., Case No. 2018-0058-VCL (Del. Ch.) ($42.5 million settlement); In
• First Circuit Court of Appeals
                                                   re Handy & Harman, Ltd., S’holders Litig., Case No. 2017-0882-TMR (Del.
• D. Mass.
• D. D.C.                                          Ch.) (settled for $30 million, making it one of the largest sell-side premiums
• W.D. Wash.                                       ever achieved for stockholders through Delaware litigation); In re Onyx
                                                   Pharmaceuticals Inc. Shareholder Litigation, Case No. CIV523789 (Cal.
PUBLICATIONS | SPEAKING EVENTS                     Sup. Ct) (settled for $30 million; at the time, the largest M&A class action in
• Guest on Rights Radio                            California state court history); and In re Rentrak Shareholders Litig., Case
• Law360 Securities Law Editorial Advisory         No. 15CV27429 (Ore. Sup.) ($19 million settlement and with the related
   Board                                           action, $23.75 million; the largest Oregon M&A settlement).
• SEC Litigation Release No. 18638, primary
   author                                          He has also litigated numerous actions pursuant to the federal securities
• Contributor, After the Ball is Over: Investor    laws, including, but not limited to: In re BP plc Securities Litigation, Case
   Remedies in the Wake of the Dot-Com Crash
                                                   No. MDL 2185 (S.D.Tex) (settlement of $175 million); Rubin v. MF Global,
   and Recent Scandals, Nebraska Law Review,
                                                   LTD., et al., Case No. 08-cv- 02233 (S.D.N.Y.) ($90 million settlement); In re
• 2005
• Speaker at Georgetown University Law Center      VeriSign Securities Litigation, Case No. C-02-2270 (N.D. Cal.) ($78 million
   on prosecution of securities class action       settlement); Welmon v. Chicago Bridge & Iron, Case No. 06-cv-01283
   lawsuits                                        (S.D.N.Y.) (settlement of $10.5 million; in approving the settlement, the
• Presenter at Business Law Symposium entitled     court noted: “Plaintiffs’ counsel have conducted the litigation and achieved
   Shareholder Rights: An Idea Whose Time has      the settlement with skill, perseverance and diligent advocacy.”);
   Come, November 2013



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    Ong v. Sears Roebuck & Co., Case No. 03 C 4142 (N.D. Ill.) ($15.5 million settlement); and In re Swisher Hygiene, Inc.,
    Securities and Derivative Litig., Case No. 3:12-md-2384 GCM (W.D.N.C.) ($5.5 million settlement; in approving the
    settlement, the court held:




            The settlement is – gosh. . . . the fact that it’s
            occurring within the context of a securities                  Honorable Graham C. Mullen,
            case, which is very difficult for plaintiffs
                                                                          In re Swisher Hygiene, Inc., Securities
            to win, is extremely impressive to me. . .
                                                                          and Derivative Litig., 3:12-md-2384
            . [T]his is a matter which has been fairly
                                                                          GCM (W.D.N.C.) ($5.5 million
            litigated by people.




    Jason has considerable experience litigating consumer class action cases involving deceptive business practices as well.
    For example, Jason, as co-lead counsel, successfully recovered 100% of the class’s alleged damages stemming from
    the overcharging of scooped coffee beans at Starbucks stores throughout the country. See In re Starbucks Consumer
    Litig., Case No. 2:11-cv-01985-MJP (W.D. Wa.); Keenholtz v. GateHouse Media, LLC, et al., Case No. 17-184-A (Mass.
    Sup.) (settlement involved complete relief to punitive class members and significant corporate governance measures);
    MabVax Therapeutics Holdings, Inc. v. Sichenzia Ross Ference LLP, et al., Case No. 3:18-cv-02494-WQH-MSB (S.D.
    Cal.) (representing a formerly-public company in its malpractice action against its former law firm).

    Jason has considerable experience litigating consumer class action cases involving deceptive business practices as well.
    For example, Jason, as co-lead counsel, successfully recovered 100% of the class’s alleged damages stemming from
    the overcharging of scooped coffee beans at Starbucks stores throughout the country. See In re Starbucks Consumer
    Litig., Case No. 2:11-cv-01985-MJP (W.D. Wa.); Keenholtz v. GateHouse Media, LLC, et al., Case No. 17-184-A (Mass.
    Sup.) (settlement involved complete relief to punitive class members and significant corporate governance measures);
    MabVax Therapeutics Holdings, Inc. v. Sichenzia Ross Ference LLP, et al., Case No. 3:18-cv-02494-WQH-MSB (S.D.
    Cal.) (representing a formerly-public company in its malpractice action against its former law firm).

    In addition to his class action experiences, Jason has litigated other forms of complex litigation. For instance, he
    worked with a former State of New York Attorney General in the defense of an attorney accused of insider trading,
    which included a criminal referral to the United States Department of Justice. Similarly, Jason represented a former
    employee whistleblower before the S.E.C. where, in one instance, he successfully argued that his clients should receive
    the maximum whistleblower award of 30% pursuant to the Dodd-Frank Act, which equated to nearly $1 million. He
    also represented the same whistleblower in a retaliation claim against his old employer, a large, multinational financial
    institution. See John Doe v. Oppenheimer Asset Management, Inc., et al., Case No. 1:14-cv-00779-LAP (S.D.N.Y.).
    Finally, he was also heavily involved in the representation of four detainees being held at the Guantánamo Bay Naval
    Station in Cuba.

    Jason is currently litigating a number of investor suits against large corporations, including: Charter Communications;
    Facebook; Surgery Partners; PennyMac; John Hancock; Fidelity; GE; Putnam; and Craft Brew Alliance, among others.




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                                                 Block & Leviton Partner Whitney Street has over seventeen years of
                                                 complex litigation experience and significant expertise in securities
                                                 and antitrust class action litigation. Whitney represented the Brockton
                                                 Retirement System and the class in an action challenging Google’s
                                                 attempt to split its stock into voting and non-voting shares in In re
WHITNEY E. STREET
                                                 Google, Inc. Class C S’holder Litig., case no. 7469-CS (Del. Ch. Ct.). Two
Partner
                                                 days before the start of trial, the action settled for significant corporate
    whitney@blockesq.com                         governance changes and a payment ladder valued up to $7.5 billion,
                                                 which was designed to protect shareholders against any diminution in
                                                 the value of their shares during the first year of trading. As a result of the
EDUCATION                                        payment ladder, shareholders ultimately recovered $522 million in cash
•   University of Virginia School of Law, J.D.   and stock in May 2015. Whitney was also a key member of the litigation
•   University of Virginia, B.A., Economics      team representing the Ohio Pension Funds In re: BP Sec. Litig., No. 4:10-
    and Literature                               MD-02185 (S.D. Tex.). The case was litigated for over six years, through
                                                 an interlocutory appeal to the Fifth Circuit and a decision on summary
BAR ADMISSIONS                                   judgment, and ultimately resulted in a $175 million recovery for the class.
•   California
•   New York                                     In addition, Whitney served as co-lead counsel in In re Thalomid &
•   Massachusetts                                Revlimid Antitrust Litig., 14-cv-6997 (D.N.J.) ($34 million settlement
•   Texas                                        preliminarily approved) and in In re Domestic Drywall Antitrust Litig.,
                                                 13-md-02437 (E.D. Pa.) ($17 million settlement). Whitney was also
COURT ADMISSIONS                                 appointed to the Plaintiffs’ Steering Committee in In re Liquid Aluminum
•   All California Federal Courts                Sulfate Antitrust Litig., 16-md-02687 (D.N.J.) (settlements totaling over
•   S.D.N.Y. and E.D.N.Y.                        $110 million) and in In re Packaged Seafood Antitrust Litig., 15-md-02670
•   D. Mass.                                     (S.D. Cal.) (litigation pending). Whitney is currently litigating a number
                                                 of class action cases in federal courts around the country, including In
PROFESSIONAL ACTIVITIES                          re Lyft Securities Litig., case no. 4:19-cv-02690-HSG (N.D.Cal.), In re
•   Co-Founder and former Co-Chair of            Mammoth Energy Services, Inc. Securities Litig., case no. 19-cv-00522
    the American Association for Justice
                                                 (W.D. Okla.), In re Broiler Chicken Antitrust Litig., 16- cv-08637 (N.D.
    Antitrust Litigation Group (2014-2016)
                                                 Ill.), and in In re Pork Antitrust Litig., 18-cv-01776 (D. Minn.).
•   Law360 Competition Law Editorial
    Advisory Board Member (2014-2018)
                                                 Prior to joining Block & Leviton, Whitney was an integral part of the
•   American Bar Association Member
                                                 litigation teams in the following class actions: Air Cargo Shipping Services
•   Contributor, Complex Litigation
    E-Discovery Forum                            Antitrust Litigation, 06-md- 1775 (E.D.N.Y.) (settlements totaling more
                                                 than $270.0 million); In re Ethylene Propylene Diene Monomer (EPDM)
                                                 Antitrust Litigation, 3:03-md-1542 (D. Conn.) (partial settlements
                                                 totaling $87.0 million); In re Methyl Methacrylate (MMA) Antitrust
                                                 Litigation, 06-md-01768 (E.D. Pa.) (settled for $15.0 million); and In
                                                 re Hydrogen Peroxide Antitrust Litigation, 05-civ-666 (E.D. Pa.) (partial
                                                 settlements of more than $4.0 million).




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                                                  Whitney received her training at prominent litigation firms in New York
                                                  and Boston where she represented clients in antitrust and securities class
PUBLICATIONS | SPEAKING EVENTS
                                                  actions. She began her career at Pillsbury Winthrop Shaw Pittman, one of
•   Panelist, Healthcare & Pharma Regulation
                                                  the largest law firms in California.
    through Antitrust Legislation, American
    Bar Association (April 2019).
•   Panelist, Big Data & Storylines, Complex
    Litigation E-Discovery Forum (September
    2016).
•   Moderator, Introduction to the Use of
    Regression Analysis in Antitrust Class
    Action Litigation, American Association for
    Justice Webinar (August 2016).
•   Co-Author, What Lies Ahead in High
    Stakes Pay-For-Delay Antitrust Litigation,
    American Association of Justice Business
    Torts Newsletter (May 2015).
•   Author, Technology Assisted Review: The
    Disclosure of Training Sets and Related
    Transparency Issues, Georgetown Law
    Advanced eDiscovery Institute (Fall 2014).
•   Faculty, Georgetown University Law
    Advanced eDiscovery Institute (November
    2014).
•   Co-Author, Decision Re-Affirms Critical
    Role of Shareholders, Benefits and Pensions
    Monitor (October 2014).
•   Panelist, American Association for Justice
    Class Certification Seminar (2013).




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                                                    R. Joseph Barton is the Chair of the Firm’s Employee Beneﬁts Group and the
                                                    Firm’s Veterans/Servicemember Rights Group at the Firm. Joe has signiﬁcant
                                                    experience handling a diverse array of complex and class litigation. Joe has a
R. JOSEPH BARTON                                    Martindale-Hubbell AV Preeminent Rating, has been selected every year since
                                                    2013 as a Washington, D.C. Super Lawyer, has a 10.0 rating from Avvo, and is
Partner
                                                    listed in the Marquis’ Who’s Who in American Law.
    joe@blockesq.com
                                                    Notable ERISA Cases

                                                    Since 2001, Joe has handled a wide variety of employee beneﬁt (i.e. ERISA)
                                                    cases. He has been trial counsel in four ERISA cases. He was lead trial counsel
EDUCATION                                           in a case challenging a complex transaction involving the Trachte ESOP and
•   College of William & Mary, Marshall-            the Alliance ESOP on behalf of a class of employees of Trachte, Chesemore
    Wythe Law School, J.D. Order of the Coif        v. Alliance Holdings, Inc., No. 3:09-cv-00413 (W.D. Wis.). In that case, Joe
•   College of William & Mary, B.A., History        obtained a favorable trial decision on liability and remedies of $17.2 million
    and Minor in Classical Studies                  (plus prejudgment interest) for the Class which was affirmed by the Seventh
                                                    Circuit. In Severstal Wheeling Inc. Ret. Comm. v. WPN Corporation, No.
BAR ADMISSIONS                                      10-cv-954 (S.D.N.Y.), Joe was lead trial counsel representing the ﬁduciaries
•   California                                      of two pension plans suing their former investment manager for improper
                                                    investments and obtained a judgment for plaintiffs of over $15 million which
•   District of Columbia
                                                    was affirmed by the Second Circuit.

COURT ADMISSIONS
                                                    Mr. Barton was Co-Lead Class Counsel in Ahrens. v. UCB Pension Plan (N.D.
•   First, Second, Third, Fourth, Fifth, Seventh,   Ga.) representing participants challenging the calculation of their benefits in a
    Eighth, Ninth, Tenth, and Eleventh Circuit
                                                    defined benefit plan. He also obtained a class settlement of $5.5 million which
    Courts of Appeal
                                                    was 60% of claimed benefits.
•   All California Federal Courts
•   D. Colorado                                     Joe is among a handful of lawyers who regularly represent participants in
•   D.D.C.                                          litigation involving ESOPs holding privately held stock. In addition to the
•   N. D. Illinois                                  Alliance/Trachte ESOP litigation, Joe has litigated and successfully settled a
•   D. Maryland                                     number of private ESOP cases, including the Azon Corporation ESOP, the
•   E. D. Michigan                                  Jeld-Wen ESOP, the Tharaldson Motels, Inc. ESOP and the Wawa ESOP.

•   D. Nebraska
                                                    Joe has also been involved in a number of cases involving breaches of ﬁduciary
•   D. North Dakota
                                                    duty and self-dealing, including improperly investing 401k plan assets in
•   N. D. Texas and W.D. Texas                      artiﬁcially inﬂated stock of publicly traded companies and in improper and
•   E. D. Wisconsin and W.D. Wisconsin              risky investments such as hedge funds or private equity. He litigated one of the
                                                    earliest cases challenging the prudence of investing in the pension and 401k
                                                    plans sponsored by New York Life Insurance Company.

                                                    Joe has also litigated cases involving the failure to properly pay beneﬁts. In
                                                    Slipchenko v. Brunel, No. 4-11-cv- 01465 (S.D. Tex.), Joe obtained a settlement
                                                    in a COBRA class action which resulted in the largest per classmember
                                                    recovery in any reported COBRA class action. In Simpson v. Fireman’s
                                                    Fund Insurance Company (N.D. Cal.), Joe represented a class of employees
                                                    alleging that FFIC’s policy of terminating persons on disability violated the
                                                    discrimination provisions of ERISA, and obtained a settlement restoring
                                                    their right to beneﬁts for a period of years and also reimbursement of past



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PROFESSIONAL ACTIVITIES                             Notable Cases Involving Veterans & Service members
•   Co-Chair of the Civil Procedure
                                                    In cases involving the rights of veterans and service members, Joe is proud
    Subcommittee for the ABA Employee
    Beneﬁts Committee (2012 to Present)             to have achieved results which one court described as “outstanding, worthy
                                                    of being emulated by class representatives and counsel in other comparable
•   Current member AAJ Publications
    Committee (2013-Present)                        litigation.” In that case, Tuten v. United Airlines, No. 12-cv-1561-WJM-MEH
                                                    (D. Col.), he was lead counsel for a class of United Airlines Pilots alleging
•   Current member, Advisory Board, Employee
    Benefits Law360 (2019 to Present)               USERRA violations in connection with their pension contributions. The case
                                                    was settled for an amount that provided the Class with 100% of their actual
•   Former Co-Chair of the American
    Association of Justice (AAJ) Class Action       damages. Also, in Allman v. American Airlines (D. Mass.) Joe was Lead Class
    Litigation Group (2014 to 2016).                Counsel in an action alleging USERRA and ERISA violations where American
•   Former Chair of Employment Rights Section       Airlines pilots who took leave to serve in the United States Armed Forces
    of the AAJ (2013 to 2014)                       did not receive the full amount of pension contributions they were entitled
                                                    to receive during their period of military leave; the settlement was for 100
                                                    percent of actual damages.
PUBLICATIONS & SPEAKING
ENGAGEMENTS
                                                    In Bush v. Liberty Life Assurance Co., Joe was lead class counsel on behalf of a
•   Author, “Navigating the Unfriendly Skies
                                                    class participants whose long-term disability beneﬁts were insured by Liberty
    of ERISA Reimbursement,” Trial Magazine
                                                    Life. The case alleged that those beneﬁts should not have been reduced by
    (2014)
                                                    the amount of beneﬁts provided through the Department of Veterans Affairs.
•   Author, “Determining the Meaning of
                                                    As part of the settlement, Liberty Life agreed to return 60% of the monies
    ‘Direct Evidence’ in Discrimination Cases
                                                    imposed as offsets and to cease imposing such reductions/offsets unless and
    Within the Eleventh Circuit: Why Judge
    Tjoflat was (W)right,” 77 Fla.B.J. 42 (2003)    until the state departments of insurance had approved them.

•   Author, “Drowning in A Sea of Contract:
                                                    In Martin, et al. v. Washington State Patrol, et al. (Sup. Ct. Wash.) Joe was
    Application of the Economic Loss Rule to
                                                    Co-Lead Class Counsel on behalf of Washington State Troopers alleging that
    Fraud and Negligent Misrepresentation
    Claims,” 41 Wm. & Mary L. Rev. 1789 (2000)      the Washington State Patrol failed to provide military veterans with veteran’s
                                                    preference when such veterans applied to become state troopers or applied for
•   Author, “Utilizing Statistics and Bellweather
    Plaintiff Trials: What do the Constitution      a promotion.
    and the Federal Rules of Civil Procedure,
    Permit?” 8 Wm. & Mary Bill Rts. J. 199          Notable Other Cases
    (1999).
                                                    Joe has been signiﬁcantly involved in litigating antitrust cases. In In re
•   Speaker on ERISA, USERRA, Class
    Actions or Civil Procedure at numerous          Mercedes-Benz Antitrust Litigation (D.N.J.), a class action alleging price-
    ABA conferences (including the ABA              ﬁxing of new Mercedes-Benz vehicles in the New York Region, Joe briefed,
    Employee Benefits Committee, the ABA            argued and obtained summary judgment on an issue of ﬁrst impression that
    Joint Committee on Employee Benefits, and       established that lessee-plaintiffs had standing to sue as direct purchasers
    ABA Labor & Employment Section) and             under the federal antitrust laws. That case later settled for $17.5 million. Joe
    conferences by the American Conference          was a part of the team that engaged in intensive trial preparations in In re
    Institute, Defined Contribution Institutional   High Fructose Corn Syrup Antitrust Litigation (C.D. Ill.), a class action alleging
    Investments Association (DCIIA), National       price-ﬁxing by the manufacturers of high fructose corn syrup, which settled
    Employment Lawyers Association (“NELA”),        for more than $500 million shortly before trial.
    the American Association of Justice (“AAJ”)
    and others. For a full list, see https://www.   In a case alleging securities fraud, Joe represented limited partners of Lipper
    linkedin.com/in/r-joseph-barton-6ba0273/.       Convertibles, a defunct hedge fund, in an arbitration against the fund’s former
                                                    general partners, and in litigation against the outside auditor in federal district
                                                    court. He has also litigated securities fraud cases involving publicly traded
                                                    companies.




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       Pro Bono Cases

       Joe considers pro bono representation an important part of his practice and has represented clients in actions
       concerning their employer’s failure to pay wages and/or overtime. In one such case, the Judge in D.C. Superior
       Court described his work: “everything done on behalf of the Plaintiff has been professional, timely and
       thorough.”

       Clerkship

       After graduating law school, Joe served as a judicial law clerk to the Honorable Lenore C. Nesbitt, United
       States District Judge for Southern District of Florida (2000-2001).




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                                                            Nathan is the managing partner of Block & Leviton’s Delaware office and
                                                            focuses his practice on trial and appellate litigation relating to Delaware
                                                            corporations and alternative entities. Nathan has experience with a broad
                                                            range of complex Delaware corporate law matters, including fiduciary duties,
                                                            appraisal, hostile takeovers, and inspection of corporate books and records.
 NATHAN COOK                                                He has had a leading role in multiple trials before the Delaware Court of
Partner                                                     Chancery, presented argument before the Delaware Supreme Court, and
                                                            obtained recoveries of hundreds of millions of dollars. Nathan’s experience
     nathan@blockesq.com
                                                            also includes expedited corporate arbitration and significant corporate
                                                            advisory work for boards of directors, special committees, and corporate
                                                            officers.

EDUCATION                                                   In 2019, Lawdragon listed Nathan in its Lawdragon 500 Leading Plaintiff
• University of Virginia School of Law, J.D.                Financial Lawyers guide, which showcases the best of the U.S. plaintiff bar
• University of Virginia, B.A., with distinction,           who specialize in representing investors and businesses harmed by corporate
 Economics and History (Jefferson Scholar and               misconduct.
Echols Scholar)
                                                            After receiving his law degree from the University of Virginia School of
BAR ADMISSIONS                                              Law, Nathan clerked for Vice Chancellor John W. Noble of the Delaware
• New York
                                                            Court of Chancery. After his clerkship, Mr. Cook joined Abrams & Laster
• Delaware
                                                            (now known as Abrams & Bayliss, after J. Travis Laster joined the Court of
                                                            Chancery) and worked on a wide range of high-stakes, bet-the-company
COURT ADMISSIONS
                                                            corporate advisory and litigation matters. Prior to joining Block & Leviton,
• U.S. District Court for the District of Delaware
                                                            Mr. Cook was a director at one of the preeminent securities and corporate
• U.S. District Court for the Southern District of
                                                            governance class-action firms in the nation and worked on behalf of
New York
                                                            numerous institutional investors.

PUBLICATIONS | SPEAKING EVENTS
                                                            Nathan focuses his practice on claims alleging breaches of fiduciary duty
•         Led roundtable discussion on “D&O
                                                            against directors and officers of publicly-traded companies. In the last few
Fiduciary Duties during Insolvency” sponsored by the
                                                            years alone, Nathan’s litigation efforts have led to recoveries of hundreds of
Institutional Investor Educational Foundation (
                                                            millions of dollars: In re Dole Food Co. Stockholder Litigation and In re
October 2019)
                                                            Dole Food Co. Appraisal Litigation, C.A. Nos. 8703-VCL, 9079-VCL (Del.
•         Litigation panelist for the Delaware State Bar
                                                            Ch.) (co-lead counsel in stockholder class action and appraisal litigation
Association’s conference “Hot Topics in Delaware
                                                            relating to a take-private merger by a controlling stockholder that resulted in
Corporate Law: Updates that Transactional Lawyers
                                                            a damages award of $148 million, plus interest, following a nine-day trial in
and Litigators Need to Know – A View from the Bench
                                                            the Delaware Court of Chancery); In re Clear Channel Outdoor Holdings,
and Bar” (May 2019)
•         Co-hosted presentation on “Recent                 Inc. Derivative Litigation, C.A. No. 7315-CS (Del. Ch.) (co-lead counsel
Developments in Delaware Case Law and Changes to            in a stockholder derivative lawsuit relating to an alleged unfair cash-sweep
the Delaware General Corporation Law” sponsored by          lending arrangement imposed on a publicly-traded subsidiary by its parent
the Council of Institutional Investors (June 2018)          entity, resulting in a settlement that returned $200 million to Clear Channel
•         Panelist for the Securities Litigation Panel at   Outdoor Holdings stockholders); In re News Corporation Shareholder
the Perrin Class Action Litigation Conference               Derivative Litigation, C.A. No. 6316-VCN (Del. Ch.) (stockholder derivative
(May 2017)                                                  lawsuit alleging corporate overpayment and failure to investigate and
                                                            remedy cover-up of illegal activity associated with phone-hacking, resulting
                                                            in a settlement of $139 million);In re Delphi Financial Group Shareholder
                                                            Litigation, C.A. No. 7144-VCG (Del. Ch.) (stockholder class action relating
                                                            to
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                                                            allegations that founder, CEO and Chairman improperly diverted merger
                                                            consideration to himself, resulting in a $49 million settlement); Indiana
•         Panelist for the “M&A and Advising the            Electrical Workers Pension Trust Fund IBEW v. Wal-Mart Stores, Inc.,
Board” panel at the Delaware Law Issues Update              C.A. No. 7779-CB (Del. Ch.) (stockholder books and records lawsuit that
Conference sponsored by the John L. Weinberg Center
                                                            resulted in a landmark Delaware Supreme Court ruling recognizing the
and the Society of Corporate Secretaries & Governance
Professionals (November 2015)                               “Garner doctrine” as Delaware law); and Lillis v. AT&T and AT&T Wireless,
•         Panelist for the “Section 220 Litigation” panel   Nos. 459, 2007 and 490, 2007 (Del.) (successful action on behalf of former
at the Practising Law Institute’s seminar “Delaware Law     directors and executive offices of MediaOne to recover the value of out-
Developments 2015: What All Business Lawyers Need           of-the-money stock options, which were cancelled in the AT&T-Cingular
to Know” (June 2015)
                                                            Wireless merger).
•         Co-author with Adam Levitt, Delaware
Supreme Court Okays One-Way Fee-Shifting Bylaws,
AAJ (Summer 2014)                                           In addition to the matters described above, Nathan served as lead counsel in
•         Co-author with A. Thompson Bayliss and            multiple complex appraisal actions before the Delaware Court of Chancery
Adam Schulman, Frequently Asked Questions,                  that were confidentially settled. Nathan served as co-lead counsel for the
Answers and More Questions about the Business
                                                            trial of the largest appraisal matter in Delaware Court of Chancery history,
Strategy Immunity, PLI (2011)
•         Co-author with J. Travis Laster, The Delaware     representing petitioners seeking judicial appraisal on their nearly $900
Supreme Court Weighs in on Fiduciary Duties to              million equity stake in the respondent corporation.
Creditors, Insights (June 2007)
                                                            Nathan also has broad experience enforcing investors’ rights to inspect
                                                            internal corporate books and records. In addition to the landmark Wal-
PROFESSIONAL ORGANIZATIONS / AWARDS
•          Delaware Corporation Law Council’s Sub-          Mart Stores action referenced above, Nathan has served as lead and co-
Committee on Common Law Trusts                              lead counsel in multiple books and records actions before the Delaware
•          Richard S. Rodney Inn of Court (Executive        courts. In UnitedHealth Group Inc. v. Amalgamated Bank, No. 162, 2018
Committee member for next term)                             (Del.), Nathan served as lead trial and appellate counsel, which included
•          Delaware State Bar Association
                                                            the presentation of successful oral argument before the Delaware Supreme
•          Delaware Trial Lawyers Association
•          Volunteer for the Delaware Office of the         Court.
Child Advocate
•          Volunteer for the Delaware Volunteer Legal       In addition, Nathan has experience serving as corporate advisory and
Services protection from abuse program                      litigation counsel in hostile takeover matters. Nathan’s hostile takeover
•          Listed in 2019 in the Lawdragon 500 Leading
                                                            work includes serving as lead counsel before the Court of Chancery in a
Plaintiff Financial Lawyers
•          Listed in 2019 in The National Trial Lawyers:    stockholder’s successful bid to oust and replace the longtime incumbent
Top 40 under 40                                             board of directors of a corporation. Nathan also served as co-lead counsel in
                                                            expedited arbitration of a merger earn-out dispute.

                                                            Nathan has also served as counsel to boards of directors, special committees,
                                                            corporate officers and alternative entities, providing extensive corporate
                                                            advisory services and legal opinions on a variety of transactional matters
                                                            relating to Delaware law, including advising in connection with mergers,
                                                            tender offers, reorganizations and other fundamental strategic transactions;
                                                            corporate charters and bylaws; stockholder rights plans (i.e., poison pills);
                                                            and dividends and distributions.

                                                            Nathan devotes a portion of his time to pro bono work for the Delaware
                                                            Office of the Child Advocate and Delaware Volunteer Legal Services
                                                            protection from abuse program.

                                                            Nathan’s current cases involve multiple other companies, including Charter
                                                            Communications and Facebook.



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                                                Block & Leviton Partner Joel Fleming has signiﬁcant experience in stockholder
                                                litigation. Since graduating with honors from the Harvard Law School, Joel has
                                                spent his entire career practicing stockholder litigation. In 2019, Law360 named
                                                Joel as one of the top six securities litigators in the country under the age of 40.

                                                Since joining Block & Leviton in 2014, Joel has played a lead role in cases that
JOEL FLEMING                                    have recovered over $100 million for investors in actions in which the firm was
Partner                                         lead or co-lead counsel. Those cases include:
    joel@blockesq.com                           •   In re Pilgrim’s Pride Corporation Derivate Litigation (Del. Ch.) ($42.5
                                                    million settlement of derivative litigation arising from conflicted, related-
                                                    party transaction with controlling stockholder);
EDUCATION                                       •   In re Handy & Harman Corporation Stockholders Litigation (Del. Ch.) ($30
• Harvard Law School, J.D., cum laude               million settlement of class action arising from sale of Handy & Harman to
• Wilfrid Laurier University, B.A., Political       its controlling stockholder; recovery was a 33% premium to deal price; a
   Science with high distinction                    near-record for merger litigation in Delaware);
                                                •   In re Rentrak Corporation Shareholders Litigation (Ore. Sup. Ct.) ($19.5
BAR ADMISSIONS                                      million settlement of litigation arising from all-stock merger between
• California                                        Rentrak Corporation and comScore, Inc.; largest settlement of merger
• Massachusetts                                     litigation in Oregon state court history); and
                                                •   In re Tangoe, Inc. Stockholders Litigation (Del. Ch.) ($12.5 million
COURT ADMISSIONS
                                                    settlement of litigation arising from sale of Tangoe, Inc. to affiliates of
• First and Ninth Circuit Courts of Appeal
                                                    Marlin Equity Partners in take-private transaction).
• N.D. Cal., C.D. Cal, and S.D. Cal.
• D. Mass.
                                                Joel also played a key role in several other actions where Block & Leviton was
                                                able to achieve significant settlements, including
PUBLICATIONS
                                                •   In re McKesson Corporation Derivative Litigation (N.D. Cal.) (Block &
• Co-author, Decision Re-Affirms Critical
   Role of Shareholders, Beneﬁts and Pensions       Leviton was one of five firms that played a leading role in this action,
   Monitor (October 2014)                           which resulted in a $175 million derivative settlement of litigation arising
• Co-author, Meltdowns crank up muni-               from the McKesson Board’s alleged oversight failures relating to opioid
   bond litigation, Daily Journal (September        distribution; one of the five largest derivative settlements of all time);
   18, 2013)                                    •   Snap, Inc. Securities Cases (Sup. Ct. Cal.) (Block & Leviton was co-lead
• Co-author, SEC takes hard line on ‘cyber          counsel in this action which resulted in a $32.8 million settlement of claims
   incidents’, Daily Journal (April 5, 2013)        arising from alleged misstatements made in connection with Snap’s IPO)
• Co-author, Lower Courts Interpret The             (final approval pending); and
   Supreme Court’s Decision In Janus Capital
   Group, Inc. v. First Derivative Traders,     •   In re Tezos Securities Litigation (N.D. Cal.) (Block & Leviton was co-lead
   Financial Fraud Law Report 4:5 (May 2012)        counsel in this action which resulted in a $25 million settlement of claims
                                                    arising from the alleged unregistered sale of securities in connection with
PROFESSIONAL ACTIVITIES                             an initial coin offering of cryptocurrency) (final approval pending).
• Visiting Lecturer, Tufts University:
   Experimental College (2013-2015)             Prior to joining the ﬁrm, Joel was a member of the Securities Litigation
                                                and Enforcement group at Wilmer Cutler Pickering Hale and Dorr—a
                                                large defense ﬁrm headquartered in Boston and Washington, D.C. While at
                                                WilmerHale, he served as a member of the trial team in AATI v. Skyworks,
                                                the ﬁrst-ever arbitration to go to trial before the Delaware Chancery Court,
                                                in a case involving a merger-related dispute between two companies in the
                                                high technology industry. Joel represented both companies in a subsequent
                                                shareholder class action that ended with the dismissal with prejudice of all
                                                counts.

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                                                      Jake Walker is a partner who focuses primarily on federal securities litigation
                                                      throughout the country. He has been named a “Rising Star” in securities
                                                      litigation since 2016 by Super Lawyers.

                                                      Among other cases, Jake is actively litigating cases on behalf of
JACOB WALKER                                          investors against Immunomedics, Inc. (D. N.J.) related to the company’s
Partner                                               misrepresentations about FDA inspections of its drug manufacturing facilities;

    jake@blockesq.com                                 Lyft, Inc. (N.D. Cal.) arising out of the company’s 2019 initial public offering;
                                                      Mammoth Energy Services, Inc. (W.D. Okla.) arising from the indictment of
                                                      the CEO of the company’s most significant division over bribery in Puerto
                                                      Rico following Hurricane Maria; Mattel (C.D. Cal.) related to the company’s
EDUCATION
                                                      restatement of financial results; Synchronoss Technologies (D. N.J.) related to
• University of Michigan Law School, J.D.,
                                                      the company’s sale of a profitable business division; and Trevena (E.D. Pa.)
   cum laude
                                                      related to the Company’s public statements concerning their interactions with
• Babson College, B.S., Business Administration
                                                      the FDA. Jake is also instrumental in the appeal to the First Circuit on behalf
BAR ADMISSIONS                                        of investors in Keryx Biopharmaceuticals (1st Cir.) arising from the company’s
• Massachusetts                                       misstatements concerning a key supplier.
• California
                                                      In the past year, Jake has led litigation teams that recovered $32.8 million from
COURT ADMISSIONS                                      Snap, Inc. in litigation arising from its initial public offering (Cal. Sup. Ct.) and
• Supreme Court                                       $25 million from the Tezos Foundation (N.D. Cal.), in litigation arising from
• First and Ninth Circuit Courts of Appeal            the cryptocurrency’s initial coin offering. Both cases are awaiting preliminary
• D. Mass.                                            approval. Jake has also obtained recoveries on behalf of investors in EZCORP,
• N.D. Cal. and C.D. Cal.                             Inc. (W.D. Tex.), Amicus Therapeutics (D. N.J.), Atossa Therapeutics (W.D.
                                                      Wash.), Onyx Pharmaceuticals (Cal. Sup. Ct.), and Globalscape, Inc. (W.D.
PROFESSIONAL CERTIFICATIONS                           Tex.), among others.
• Certified Information Privacy Professional
   (CIPP/US)
                                                      In addition to his securities litigation work, Jake also assisted the firm in its
                                                      work on the $14.7 billion settlement in the Volkswagen Diesel engine multi-
PUBLICATIONS
                                                      district litigation, and has also led consumer litigation, including obtaining
• Co-author, PLI’s Securities Litigation treatise –
   chapters on loss causation and securities trials   100% recovery of damages for Massachusetts subscribers to newspapers
                                                      published by Gatehouse Media, who were overcharged by the company.

                                                      Prior to joining Block & Leviton in 2015, Jake was an associate at two of the
                                                      country’s top defense firms: Gibson Dunn in Palo Alto and Skadden, Arps
                                                      in Boston. There, he represented boards of directors, corporate acquisition
                                                      targets, and acquirers in litigation related to mergers and acquisitions. Jake
                                                      represented defendants in litigation related to the $5.3 billion private equity
                                                      acquisition of Del Monte Foods Company in state and federal courts in
                                                      California and in the Delaware Court of Chancery, as well as in litigation
                                                      related to Intel’s $7.7 billion acquisition of McAfee Inc. in the Superior Court
                                                      of California, Santa Clara County. He has also represented numerous third




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       parties, including various investment banks, in M&A litigation in California and Delaware courts.

       While Jake’s ten-year career has centered on securities and corporate governance litigation, Jake also has
       significant experience representing several large technology companies, including in the defense of consumer
       class actions related to privacy and technology issues. He is a Certified Information Privacy Professional and
       has a deep understanding of technology and privacy issues. Jake has also represented companies in antitrust
       class actions and investigations, stockholder derivative actions, securities class actions, and in investigations
       before the F.T.C. and the Massachusetts Attorney General’s Office.

       Jake graduated from Babson College with a B.S. degree in Business Administration in 2001 and received his
       law degree, with honors, from the University of Michigan in 2010.




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                                                Vincent Cheng is an associate at the ﬁrm and a member of the Employee
                                                Beneﬁts Group and Veterans/Servicemember Rights Group. Since graduating
                                                from law school, Vincent has focused his work on advocating for the rights of
VINCENT CHENG                                   employees and retirees and of veterans and servicemembers. Prior to joining
Senior Associate                                Block & Leviton in January 2017, he had over 8 years of experience in litigating
                                                a variety of lawsuits on behalf of employees.
    vincent@blockesq.com
                                                Vincent has litigated cases brought under the Employee Retirement Income
                                                Security Act (ERISA) involving breach of ﬁduciary duty and beneﬁt denial
                                                claims and cases brought under the Uniformed Services Employment and
                                                Reemployment Rights Act (USERRA) involving veterans’ employment rights
EDUCATION
                                                and beneﬁts. He has also litigated employment cases involving unpaid overtime
• University of California Berkeley School of
   Law, J.D.                                    wages under the Fair Labor Standards Act (FLSA) and the California Labor
• University of California, Berkeley, B.A.,     Code and race and gender discrimination under Title VII and the California
   Philosophy and Mathematics                   Fair Employment and Housing Act (FEHA).

BAR ADMISSIONS                                  Notable Employee Benefits Cases
• California
                                                •   Foster v. Adams Associates, Inc., No. 18-cv-02723 (N.D. Cal.): represents
                                                    a class of participants in an ESOP alleging that the directors and
COURT ADMISSIONS
                                                    shareholders of Adams engaged in prohibited transactions and fiduciary
• N.D. Cal., E.D. Cal., and C.D. Cal.
                                                    breaches in connection with the October 2012 sale of Adams to the ESOP.
• N.D. Ill.
                                                •   Hurtado v. Rainbow Disposal Co., Inc. ESOP Committee, No. 8:17-cv-01605
PUBLICATIONS                                        (C.D. Cal.): represents a class of employees alleging that the October 2014
• Author, “A Jigsaw of Worker                       sale of Rainbow to the ESOP was not for adequate consideration and
   Classiﬁcations,” Trial Magazine                  included various prohibited transactions and fiduciary breaches.
   (September 2018)
                                                •   Carlson v. Northrop Grumman Severance Plan, No. 13-cv-02635 (N.D.
• Author, “National Railroad Passenger
   Corporation v. Morgan: A Problematic             Ill.): represented a class of employees who were laid off from Northrop
   Formulation of the Continuing Violation          Grumman alleging they were improperly denied cash severance under the
   Theory,” California Law Review                   severance plan.
   (October 2003)
                                                •   Aguilar v. Melkonian Enterprises, Inc., No. 05-cv-00032 (E.D. Cal.):
                                                    represented a class of participants in two pension plans alleging that the
                                                    ﬁduciaries failed to prudently invest the plan assets; obtained a settlement
                                                    that provided for recovery of more than 85% of the losses to the plans.
                                                •   Simpson v. Fireman’s Fund Insurance Company, No. C 05-000225 (N.D.
                                                    Cal.): represented disabled employee-participants alleging that FFIC
                                                    terminated them in violation of ERISA § 510 to prevent them from
                                                    continuing to receive medical beneﬁts; obtained a settlement that
                                                    provided for restoration of their right to beneﬁts for a period of years and
                                                    reimbursement of past medical expenses.
                                                •   Paulsen v. CNF Inc., No. C 03-3960 (N.D. Cal.): represented a group of
                                                    employees alleging that the ﬁduciaries breached their duties under ERISA
                                                    in connection with the spinoff of a division of CNF, and that the CNF
                                                    pension plan’s actuary breached its duty of care under state law in valuing
                                                    the plan liabilities to be transferred at spinoff and certifying post spinoff



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           that the new plan was adequately funded.
       •   Hurlic v. Southern California Gas Company, No. 05-5027 (C.D. Cal.): represented a putative class of
           participants alleging that the pension beneﬁt accrual formula under SCGC’s cash balance deﬁned beneﬁt
           plan violated ERISA’s prohibition against age discrimination and ERISA’s anti-backloading rules.

       Notable Cases Involving Veterans and Servicemembers Rights

       •   Anderson v. City and County of San Francisco, No. 20-cv-01149 (N.D. Cal.): represents a putative class
           of employees alleging that the City’s policies and practices governing military leave impose burdensome
           procedures not required by law and fail to provide servicemembers with certain benefits and proper
           reemployment in violation of USERRA, the California Military and Veterans Code (“MVC”), and the
           City’s Annual Salary Ordinances.
       •   Clarkson v. Alaska Airlines, Inc., No. 19-cv-00005 (E.D. Wash.): represents putative classes of
           servicemembers alleging that Alaska Airlines and Horizon Air violated USERRA by subjecting employees
           who took military leave to Horizon’s “virtual credit” policy and by failing to provide paid short-term
           military leave when providing paid leave for other comparable short-term leave.
       •   Nelson v. Ditech Financial, LLC, No. 17-cv-05582 (W.D. Wash.), represents servicemember alleging Ditech
           violated the Servicemembers Civil Relief Act (“the SCRA”) by refusing to apply the statutory 6% interest
           rate cap to mortgage loans incurred by servicemembers and their spouses.
       •   Allman v. American Airlines, Inc. Pilot Retirement Beneﬁt Program Variable Income Plan, No. 14-cv-
           10138 (D. Mass.), obtained settlement of 100% actual damages on behalf of a class of pilots alleging that
           American Airlines allegedly violated USERRA and ERISA by making deﬁcient pension contributions
           when pilots took military leave.
       •   Bush v. Liberty Life Assurance Company of Boston, No. 14-cv-01507 (N.D. Cal.), obtained settlement
           whereby Liberty Life agreed to return 60% of reduced long-term disability beneﬁts to veteran-claimants
           and further agreednot to reduce future beneﬁts absent state approval of revised policy language.
       •   Munoz v. InGenesis STGi Partners, LLC, No. 14-cv-1547 (S.D. Cal.), a USERRA discrimination and
           failure-to-reemploy case that settled for full amount of the plaintiff ’s lost pay and beneﬁts plus interest
           and a sizable amount of liquidated damages.

       Notable Employment Cases

       •   Walkinshaw v. CommonSpirit Health, No. 19-cv-03012 (D. Neb.): represents a putative class of employees
           who have worked as hourly-rate medical nurses alleging that the defendants violated the Fair Labor
           Standards Act (“the FLSA”), the Nebraska Wage and Hour Act (“the NWHA”), and the Nebraska Wage
           Payment and Collection Act (“the NWPCA”), by paying employees less than overtime and minimum
           wages for work performed while they were “on call.”
       •   Gutierrez v. Schmid Insulation Contractors, Inc., No. 07-cv-5852 (C.D. Cal.), a wage-and-hour class action
           alleging that the defendants failed to pay for travel time from offices to construction sites, provide meal
           and rest breaks, and pay overtime to a group of Spanish-speaking, immigrant workers.
       •   Wynne v. McCormick & Schmick’s Seafood Restaurants, Inc., 06-cv-03153 (N.D. Cal.), a Title VII and
           FEHA class action alleging race discrimination in hiring and job assignments, which resulted in a consent
           decree through settlement that provided for signiﬁcant injunctive relief to promote equal employment
           opportunity.




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                                                  Stephen Teti is a senior associate at Block & Leviton LLP, and with nearly
                                                  a decade of experience litigating complex securities fraud, antitrust, and
                                                  consumer class actions, he serves as a lead case investigator at the Firm.

                                                  Steve has recovered tens of millions of dollars in securities fraud class actions
STEPHEN TETI                                      for shareholders. Steve’s securities successes include City of Birmingham Ret.
Senior Associate                                  & Relief Sys. v. MetLife, Inc., Case No. CV-2012-902101 (Ala. Cir. Ct.) ($9.75
                                                  million settlement); Rosenberg v. Cliffs Natural Resources, Inc., No. 2014 CV
    steti@blockesq.com
                                                  828140 (Ohio Ct. Com. Pleas) ($10 million settlement); and Niitsoo v. Alpha
                                                  Natural Resources, Inc., No. AD-303-2014 (Pa. Ct. Com. Pleas) ($3.6 million
EDUCATION                                         settlement).
• Quinnipiac University School of Law, J.D.,
   magna cum laude                                Steve has also represented banks and financial institutions in high-profile data
• Fairfield University, B.A., Political Science   security breach class actions nationwide. Representative matters include In re
   and French, cum laude                          Home Depot Inc. Customer Data Security Breach Litig., 14-md-2583 (N.D. Ga.)
                                                  ($27.25 million settlement; served on Plaintiffs’ Coordination & Discovery
BAR ADMISSIONS                                    Committee); In re Target Corp. Customer Data Security Breach Litig., 14-
• Massachusetts                                   md-2522 (D. Minn.) ($59 million settlement); and WinSouth Credit Union
• Connecticut                                     v. Mapco Express, Inc., No. 14-cv-1573 (M.D. Tenn.) (largest dollar-per-card
                                                  settlement obtained on behalf of ﬁnancial institutions involving data breach of
COURT ADMISSIONS
                                                  credit and debit card information).
• Ninth Circuit Court of Appeals
• D. Mass.
                                                  Steve’s antitrust matters include In re Thalomid & Revlimid Antitrust Litig.,
• D. Conn.
                                                  No. 14-cv-6997 (D.N.J.) ($34 million settlement preliminarily approved), a
• D. Colo.
                                                  class action alleging that the defendant’s extensive anticompetitive conduct
• S.D.N.Y.
                                                  excluded generic alternatives for Thalomid and Revlimid, two drugs used
• W.D.N.Y.
                                                  to treat rare but deadly conditions, from entering the market, causing end
                                                  payors to incur millions of dollars in overcharges. Steve is also a member
                                                  of the team representing direct purchasers in In re Broiler Chicken Antitrust
                                                  Litig., No. 16-cv-8637 (N.D. Ill.), a class action alleging that broiler chicken
                                                  producers engaged in a price ﬁxing conspiracy. Steve is also a member of the
                                                  team representing direct purchasers in In re Pork Antitrust Litig., No. 18-cv-
                                                  1776 (D. Minn.), a class action alleging that pork producers engaged in a price
                                                  ﬁxing conspiracy.

                                                  Steve joined Block & Leviton after practicing securities, derivative, and
                                                  consumer class litigation for six years at a nationally-recognized plaintiffs’ law
                                                  ﬁrm in Connecticut. He previously clerked for the judges of the Connecticut
                                                  Superior Court. During law school, Steve served as Publications Editor of
                                                  the Quinnipiac Law Review, a judicial extern to the Honorable Stefan R.
                                                  Underhill in the United States District Court for the District of Connecticut,
                                                  an intern for the State of Connecticut Office of the Attorney General, and as
                                                  a legislative extern to the Judiciary Committee of the Connecticut General
                                                  Assembly.




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       Additional Notable Cases

       •   Obtained a signiﬁcant decision for consumers in Friedman v. Maspeth Fed. Loan & Savings Ass’n, 30 F.
           Supp. 3d 183 (E.D.N.Y. 2014). In a case before the Honorable Jack B. Weinstein, raising “issues of ﬁrst
           impression on the reach of the Real Estate Settlement Procedures Act,” Steve defeated a motion to dismiss,
           and later obtained a settlement that reimbursed consumers for 100% of their losses in the case which
           involved wrongful imposition of late charges on timely received mortgage payments;

       •   Lead associate in several successful appeals, including Cottrell v. Duke, 737 F. 3d 1238 (8th Cir. 2013);
           Westmoreland Cty. Emp. Ret. Sys. v. Parkinson, 737 F.3d 719 (7th Cir. 2013); and Chavez v. Nestlé USA,
           Inc., 511 Fed. Appx. 606 (9th Cir. 2013);

       •   Achieved several favorable decisions regarding the improper removal of class actions under the Securities
           Act of 1933, including Niitsoo v. Alpha Natural Resources, Inc., 902 F. Supp. 2d 797 (S.D. W. Va. 2012);
           Rosenberg v. Cliffs Natural Resources, Inc., 2015 WL 1534033 (N.D. Ohio Mar. 25, 2015); and Rajasekaran
           v. CytRx Corp., 2014 WL 4330787 (C.D. Cal. Aug. 21, 2014).




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                                             Nate Silver is an associate in Block & Leviton’s securities litigation practice.

                                             Nate is a member of the teams actively litigating on behalf of investors
                                             against Immunomedics, Inc. (D. N.J.) related to the Company’s
                                             misrepresentations about FDA inspections of its drug manufacturing
NATE SILVER                                  facilities; Lyft, Inc. (N.D. Cal.) arising out of its initial public offering;
Associate                                    Mammoth Energy Services, Inc. (W.D. Okla.) arising from the indictment of
                                             the CEO of the Company’s most significant division over bribery in Puerto
    nate@blockesq.com
                                             Rico following Hurricane Maria; Synchronoss Technologies (D. N.J.) related to
                                             the Company’s sale of a profitable business division; and Trevena, Inc. (E.D.
EDUCATION                                    Pa.) related to the Company’s public statements concerning their interactions
• Boston College Law School, J.D. ‘15,       with the FDA.
   magna cum laude
• Suffolk University, B.A., History ‘11,     Recently, Nate was a member of the litigation teams that recovered $32.8
   magna cum laude                           million from Snap, Inc. in litigation arising from its initial public offering
                                             (Cal. Sup. Ct.) and $25 million from the Tezos Foundation (N.D. Cal.), in
BAR ADMISSIONS                               litigation arising from the cryptocurrency’s initial coin offering. Nate was
• Massachusetts                              also a member of the litigation teams that obtained recoveries on behalf of
• New York                                   shareholders in EZCORP, Inc. (W.D. Tex.) and Globalscape, Inc. (W.D. Tex.).

COURT ADMISSIONS
                                             Prior to joining Block & Leviton in 2018, Nate was an associate at one
• First Circuit Court of Appeals
                                             of Massachusetts’ premier criminal defense firms – J. W. Carney, Jr. &
• D. Mass
                                             Associates – where he represented defendants in criminal trials and appeals
                                             in state and federal court. There, Nate gained valuable litigation and trial
PUBLICATIONS
                                             experience as the lead associate on a broad range of matters, including
•   Contributing author to Massachusetts
                                             securities fraud, visa fraud, murder, and drug distribution cases.
    Evidence: A Courtroom Reference (MCLE)

                                             Nate also represented indigent individuals accused of crimes in state court as
                                             a member of Middlesex Defense Attorneys, Inc., a non-proﬁt organization
                                             that administers criminal defense services to those who cannot afford legal
                                             services.

                                             While attending law school, Nate served as a senior editor for the Boston
                                             College Law Review, interned at the New England Innocence Project, and
                                             was a summer associate at Day Pitney LLP.




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                                                    Colin M. Downes is an associate with the firm who focuses his practice on
                                                    defending the rights and benefits of workers and retirees. His experience
                                                    includes cases brought under the Employee Retirement Income Security Act
COLIN M. DOWNES                                     (ERISA) involving employee stock ownership plans, excessive 401k and 403b
Associate                                           fees, pension plan underfunding, and the ERISA obligations of religiously
                                                    affiliated nonprofits. He has also provided pro bono representation to
    colin@blockesq.com                              indigent clients in contested asylum and child custody matters.

                                                    Prior to joining the firm, Colin practiced as an associate with Groom Law
                                                    Group (an employer-side employment benefits boutique) and with the
EDUCATION                                           international law firm Clifford Chance. Colin served on the editorial board
• University of Virginia School of Law, J.D         of the Virginia Law Review while in law school.
• University of Massachusetts, B.A.,
   Philosophy

BAR ADMISSIONS
• District of Columbia
• New York

COURT ADMISSIONS
• D. D.C.
• S.D.N.Y
• First Circuit Court of Appeals

PUBLICATIONS
•  Appointing Chapter 11 Trustees in
   Reorganizations of Religious Institutions, 101
   Va. L. Rev. 2225 (2015)




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                                                Amanda Crawford is an associate in Block & Leviton LLP’s shareholder
                                                litigation practice.

                                                Amanda is proficient in all stages of litigation. She has experience
                                                conducting pre-suit investigation of state and federal law violations,
AMANDA R. CRAWFORD                              drafting initial pleadings, performing legal research and analyses, preparing
Associate                                       for depositions, drafting case-dispositive motions, and participating in
    amanda@blockesq.com                         mediation. Amanda has also overseen large-scale discovery efforts, including
                                                developing case-specific strategies in complex, multi-million document
                                                cases.
EDUCATION
• University of North Carolina School of Law,   She was a member of the litigation team in In re Handy & Harman, Ltd.
   J.D.                                         Stockholders Litigation, a securities class action that obtained a $30 million
• Eugene Gressman and Daniel H. Pollitt         settlement—a 33% premium to the deal price and one of the largest sell-
   Oral Advocacy Award for Best Overall         side premiums achieved for stockholders in Delaware. She was also part of
   Argument                                     the litigation team that secured a $12.5 million recovery for investors in In
• Certificate of Merit for highest grade in     re Tangoe, Inc. Stockholders Litigation. Most recently, she was on the team
   Legal Research, Reasoning, Writing, and
                                                of attorneys who obtained a $42.5 million recovery in In re Pilgrim’s Pride
   Advocacy
                                                Corporation Derivative Litigation.
• California State University, Fullerton,
   Criminal Justice, cum laude
                                                Before joining Block & Leviton, Amanda gained practical corporate work
BAR ADMISSIONS                                  experience in ﬁnance and employment law. During law school, she served
• Massachusetts                                 as Executive Editor of the North Carolina Journal of International Law, Co-
                                                chair of the Craven Moot Court Board, a research assistant to the Assistant
COURT ADMISSIONS                                Dean of the Writing and Learning Resources at UNC School of law, a law
• D. Mass                                       clerk at TIAA, and a summer associate at Mayer Brown LLP.




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                                            Lauren is an associate in Block & Leviton’s shareholder litigation practice.

                                            Before joining Block & Leviton, Lauren served as a judicial law clerk
                                            for the Honorable Denise Casper on the United States District Court of
                                            Massachusetts. Immediately prior to her clerkship, she was a litigation
LAUREN GODLES MILGROOM                      associate at Foley Hoag in Boston, where she primarily worked on Doe v.
Associate                                   Trump, a federal challenge to the transgender military ban. In law school,
                                            Lauren served as the President of the Harvard Mediation Program and
    lauren.milgroom@blockesq.com
                                            Executive Editor of the Harvard Latino Law Review. She was also a national
                                            competitor with the Harvard Mock Trial Association.

EDUCATION
• Harvard Law School, J.D., cum laude
• Tufts University, B.A., summa cum laude



BAR ADMISSIONS
• Massachusetts




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                                                Jeff Gray joined Block & Leviton LLP as an Associate in 2016. His practice
                                                focuses on complex securities and antitrust litigation. Jeff is currently a
                                                member of the litigation team representing a putative class of Charter
                                                Communications shareholders, challenging an unfair share issuance to
                                                Charter’s controlling shareholders, in connection with Charter’s purchase of
JEFFREY GRAY                                    Time Warner Cable and Bright House Networks. See Sciabacucchi v. Liberty
Associate                                       Broadband Corporation, No. CV 11418-VCG, 2017 WL 2352152, at *3 (Del.

    jgray@blockesq.com                          Ch. May 31, 2017). Jeff is a member of the litigation team in Karth v. Keryx
                                                Biopharmaceuticals, Inc., et al. (D. Mass.), a federal securities class action
                                                involving misrepresentations about the risks of relying on a single contract
EDUCATION                                       manufacturer.
• Suffolk University Law School, J.D.
• Sawyer Business School, Suffolk University,   Jeff is a member of the litigation team representing the City of Providence
   M.B.A.                                       in an antitrust class action against Celgene Corp. for unlawfully excluding
• Connecticut College, B.A., Economics          generic competition for vital cancer treatment drugs. See In re Thalomid
                                                & Revlimid Antitrust Litig., 14-cv-6997 (D.N.J.) ($34 million settlement
BAR ADMISSIONS
                                                preliminarily approved).
• Massachusetts
                                                Jeff was a member of the litigation team that represented shareholders in In
                                                re McKesson Corporation Derivative Litigation, 4:17-cv-01850-CW (N.D.Cal.)
                                                (settled for $175M, plus significant corporate governance reforms). Jeff was a
                                                member of the litigation team in In re Pilgrim’s Pride Corporation Derivative
                                                Litigation, Consol. C.A. No. 2018-0058-JTL (Del. Ch.), a derivative action
                                                challenging a conﬂicted transaction between Pilgrim’s Pride and its majority
                                                stockholder, JBS (settled for $42.5M).

                                                Earlier in his career, Jeff was a management consultant at a ﬁnancial
                                                services ﬁrm in the Boston area and, prior to that, was a project manager
                                                in commercial lending at FleetBoston Financial. While in law school, he
                                                completed internships with MFS and with The Nature Conservancy and was a
                                                law clerk at CT Corporation System.




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                                                 David Dorfman is an associate at Block & Leviton, focusing his practice on
                                                 securities litigation.

DAVID DORFMAN                                    Prior to joining Block & Leviton, David worked as an equity research analyst
Associate                                        for a leading investment bank covering the consumer sector. Earlier in his
                                                 career, he was an associate at one of the country’s top securities law firms,
     david@blockesq.com
                                                 specializing in corporate finance and investment management.




EDUCATION
• Harvard Law School, J.D.
• New York University, M.B.A



BAR ADMISSIONS
• New York

    *Not admitted in Massachusetts. Practicing
    under the supervision of firm principals.




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                 Exhibit B
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                                                                                    In re Tezos Securities Litigation
                                                                                       Time and Billing by Category
                                                                                     Inception through July 24, 2020
                                                                                           Block & Leviton LLP
Timekeeper                  Position             A           B           C             D          E          F           G           H           I            J           Total           Hourly Rate Lodestar
Jeffrey Block               Partner                                           1.3          12.5                               27.9       13.5        136.8         86.3           278.2   $     1,000 $ 278,200
Jacob Walker                Partner                  88.4        64.8        82.9          73.8       13.6       4.9         126.4       33.0        106.8        166.7           761.3   $       750 $ 570,975
Joel Fleming                Partner                  11.8        83.6        99.5           3.2                  9.5          28.7                     1.0                        237.3   $       750 $ 177,975
Jason Leviton               Partner                               3.5         4.6                                                                                                   8.1   $       875 $     7,088
Nate Silver                 Associate                                                       4.1       18.9                    28.6       88.3                      66.2           206.1   $       475 $   97,898
Amanda Crawford             Associate                             3.9                                                                                                               3.9   $       450 $     1,755
Mark Byrne                  Law Clerk                                                                  9.7       9.2           0.7                                                 19.6   $       175 $     3,430
Rachel Murphy               Paralegal                                                                                                                  1.9                          1.9   $       250 $       475
Brooke Jordy                Paralegal                            11.4         3.4           4.5                                                                                    19.3   $       235 $     4,536
Elizabeth Davey             Paralegal                             0.2        10.0           9.4                                          10.1                                      29.7   $       250 $     7,425


Grand Total                                        100.2       167.4       201.7         107.5       42.2       23.6       212.3       144.9       246.5        319.2      1565.4 $           734.48   $ 1,149,756
 % of Total Hours                                  6.4%       10.7%       12.9%          6.9%       2.7%       1.5%       13.6%        9.3%       15.7%        20.4%
 Lodestar                                   $    75,150 $   118,847 $   145,374 $      75,605 $   20,875 $   12,410 $   157,933 $    82,718 $   218,075 $    242,770 $ 1,149,756
 % of Lodestar                                     6.5%       10.3%       12.6%          6.6%       1.8%       1.1%       13.7%        7.2%       19.0%        21.1%


                        Category Key
 A = Investigation, Research, Complaints
 B = TRO / Preliminary Injunction / Service
 C = Leadership / Intervention Motions
 D = Case Management, Client Updates
 E = Ongoing Research
 F = Non-Discovery Motions and Briefing
 G = Discovery Negotiations, Disputes, Briefing
 H = Discovery / Document Review
 I = Settlement Negotiations
 J = Settlement Approval, Class Member Communications
